                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-01073-CMA-NRN

THE AARON H. FLECK REVOCABLE TRUST,
THE BARBARA G. FLECK REVOCABLE TRUST,
AARON H. FLECK, and
BARBARA G. FLECK,

Plaintiffs,

v.

FIRST WESTERN TRUST BANK,
CHARLES BANTIS, and
ANDREW GODFREY,

Defendants.

                                  MINUTE ORDER

Entered by Magistrate Judge N. Reid Neureiter

       It is hereby ORDERED that Plaintiffs’ Unopposed Motion to Extend Cutoff for
Expert Discovery (Dkt. #96) is GRANTED as follows. Plaintiffs shall have through and
including August 2, 2023, to take the deposition of Lari Masten.

Date: July 10, 2023
